Case 7:20-cv-00170-MCR-GRJ Document 174 Filed 12/10/21 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

THEODORE ELWOOD FINLEY,

 

Plaintiff,
v. Case No.: 7:20ev170-MW/GRJ
3M, et al.,
Defendants.
/
VERDICT FORM

I. MR. FINLEY’S CLAIMS

Please answer each of Questions | through 6.

l. Was there a design defect in the CAEv? at the time it left 3M’s possession
that was a ot cause of Mr. Finley’s injuries?

NO

YES

2. Was there a defect in the warnings and/or a defect in the instructions at the
time the CAEv?2 left the possession of 3M that was a producing cause of Mr.

Finley’s ie
YES NO

3. Was 3M negligent in designing the CAEv2 at the time it left 3M’s possession,
and was that en if any, a proximate cause of Mr. Finley’s injuries?

 

YES V__

 

4. Was 3M negligent in warning and/or instructing regarding use of the CAEv2

at the time it cnn Fl 3M’s possession, and was that negligence, if any, a
e/ot

proximate caus Mr. Finley’s injuries?
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Case 7:20-cv-00170-MCR-GRJ Document 174 Filed 12/10/21 Page 2 of 6

33 Do you find by clear and convincing evidence that 3M’s gross negligence
proximately “e Mr. Finley’s injuries?

YES

NO

6. Did 3M make a fraudulent misrepresentation on which Mr. Finley justifiably
relied, and that proximately caused Mr. Finley’s injuries?

 

YES NO

If you answered NO to each of Questions 1 through 6, your verdict is for 3M
and your work is complete. Please have the foreperson sign and date the verdict
form.

If you answered YES to any of Questions 1 through 6, your verdict is for Mr.
Finley on those questions, and you must proceed to Section II.

I]. AFFIRMATIVE DEFENSE: PROPORTIONATE RESPONSIBILITY

Answer Questions 7 and 8 only if you answered YES to any of Questions 1
through 6, above.

7. Was Mr. Finley’s own negligence a proximate cause of his injuries?

YES __ NO ie

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Case 7:20-cv-00170-MCR-GRJ Document 174 Filed 12/10/21 Page 3 of 6

If you answered YES to Question 7, your verdict on this issue is for 3M; you
should consider the percentage of fault that should be apportioned to Mr.
Finley, and record that below.

If you answered NO to Question 7, your verdict on this issue is for Mr. Finley,
and you should not apportion any fault to Mr. Finley below.

Proceed to Question 8.

8. Was the United States Military’s negligence a proximate cause of Mr.
Finley’s injuries?

YES NO_Y

If you answered YES to Question 8, your verdict on this issue is for 3M; you
should consider the percentage of fault that should be apportioned to the United
States Military, and record that below.

 

If you answered NO to Question 8, your verdict on this issue is for Mr. Finley,
and you should not apportion any fault to the United States Military below.

If you found for 3M in Questions 7 or 8, above, then it is necessary for you to
determine the percentage of fault attributable to Mr. Finley, the United States
Military, and/or 3M. Your allocation of fault must total 100%. If you found for
Mr. Finley in both Questions 7 and 8, above, then you must apportion 100% of
fault to 3M.

Mr. Finley O x
United States Military Oo %
3M loo x

These percentages must total 100%.

Proceed to Questions 9 and 10.
Case 7:20-cv-00170-MCR-GRJ Document 174 Filed 12/10/21 Page 4 of 6

9. Did Mr. Finley actually discover, or should Mr. Finley, in the exercise of
reasonable diligence, have discovered both (1) his injuries and (2) that the
cause of his injuries were the wrongful acts of 3M by January 18, 2018?

YES NO_V

10. Did Mr. Finley actually discover, or should Mr. Finley, in the exercise of
reasonable diligence, have discovered both (1) his injuries and (2) that the
cause of his injuriesAvere the wrongful acts of 3M by January 18, 2016?

YES NO

If you answered YES to Questions 9 and 10, your verdict on this issue is for 3M
and your work is complete. Please have the foreperson sign and date the verdict
form. If you answered NO to either Question 9 or Question 10, you must
proceed to Section II.

Il. COMPENSATORY DAMAGES

Only complete this section if you answered “Yes” to any of Questions 1
through 6, above.

11. | What sum of money, if paid now in cash, would fairly and reasonably
compensate Mr. Finley for his injuries, if any, that resulted from the
occurrence in the question?

a. Past pain and suffering (physical pain, mental anguish, and physical
impairment).
Answer: $ 500 ' O0d

b. Future pain and suffering (physical pain, mental anguish,

and physical impairment).

Answer: $ by: O00,000
Case 7:20-cv-00170-MCR-GRJ Document 174 Filed 12/10/21 Page 5 of 6

IV. EXEMPLARY DAMAGES

You may, but are not required to, complete this Section if you awarded
damages to Mr. Finley in Section III, above.

12. Do you find, by clear and convincing evidence, that Mr. Finley’s injuries
resulted from fraud, malice, or gross negligence by 3M?

YES_J NO

If you answered NO to Question 12, your verdict on this issue is for 3M, and
your work is complete. Please have the foreperson sign and date the verdict
form.

If you answered YES to Question 12, proceed to Question 13.

13. | What exemplary damages, if any, do you find for Mr. Finley for 3M’s fraud,
malice, or gross negligence?

Exemplary damages: sh, 000, DOO

Proceed to Section V.

V. SECURING EXECUTION OF MEDICAL PROCUREMENT ITEM
DESCRIPTION BY DECEPTION

Only complete this section if you awarded Plaintiff exemplary damages in
Section IV, above.

14. Do you find that Mr. Finley has proven by clear and convincing evidence that
3M knowingly secured execution of a Medical Procurement Item Description
for the Combat Arms Earplugs, version 2, by deception, affecting his
pecuniary interest?

YES_V/ NO

If you answered NO to Question 14, please skip Question 15 and have the
foreperson sign and date the verdict form.

5
Case 7:20-cv-00170-MCR-GRJ Document 174 Filed 12/10/21 Page 6 of 6

If you answered YES to Question 14, please proceed to Question 15.

15. Do you find that Mr. Finley has proven beyond a reasonable doubt that 3M
knowingly secured execution of a Medical Procurement Item Description for

the Combat Arms Earplugs, version 2, by deception, affecting his pecuniary
interest? /

YES V NO

PLEASE SIGN AND DATE THE VERDICT FORM BELOW.

 

19/0/2023.

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DATE FOREPERSON
